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KEYHAN MOHANNA

1405 Greenwich Street, Apt. #2

San Francisco, California 94109

Telephone: (415) 420-1237 FILED
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Email: keyhan6@yahoo.com SUSAN Y, SOONG

CLERK, U.S. DISTRICT COURT
PLAINTIFF IN PRO SE NORTH DISTRICT OF CALIFORNIA ao

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

KEYHAN MOHANNA, Case No. 4:21-CV-03557-KAW
INDIVIDUALLY AND KEYHAN
MENDE
MOHANNA, TRUSTEE OF THE OR A D COMPLAINT
KEYHAN MOHANNA REVOCABLE
TRUST DATED JULY 8, 2003 1. WRONGFUL FORECLOSURE
laintitt 2. VIOLATION OF UNIFORM
Pian, COMMERCIAL CODE §3302, ET

Vv. SEQ.

INGTON SAVINGS FUND
WILMINGTON SAVINGS DEMAND FOR JURY TRIAL

 

SOCIETY, FSB, d/b/a CHRISTIANA
TRUST, NOT INDIVIDUALLY BUT
AS TRUSTEE FOR HILLDALE
TRUST and DOES 1-10, Inclusive

Defendants.

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Pursuant to Federal Rules of Civil Procedure 15(a)(1)(B), Plaintiff

KEYHAN MOHANNA, individually and as Trustee of the KEYHAN

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MOHANNA REVOCABLE TRUST DATED JULY 8, 2003 (“Plaintiff’ or
“MOHANNA”), files this Complaint against Defendants WILMINGTON
SAVINGS FUND SOCIETY, FSB, d/b/a CHRISTIANA TRUST, NOT
INDIVIDUALLY BUT AS TRUSTEE FOR HILLDALE TRUST, herein after
referred to as “WILMINGTON,” in the capacity as the purported “foreclosing
beneficiary,” of Plaintiff's mortgage debt obligation, and Does 1-10, complains,

pleads and alleges as follows:
I. INTRODUCTION
This is an action brought by Plaintiff MOHANNA, against Defendant
WILMINGTON, and Does 1-10, inclusive, for Wrongful Foreclosure and
Violation of Uniform Commercial Code (hereinafter referred to as “U.C.C.”)
§3302 of the property located at: 1405 Greenwich Street, Unit #2, San Francisco,
CA 94109, hereinafter referred to as the “Subject Property.”
Plaintiff alleges that WILMINGTON was not the “foreclosing beneficiary”
of the mortgage debt obligation as claimed on the Trustee’s Deed of Sale,
hereinafter referred to as “TDUS,” recorded on January 24, 2018 as Instrument
Number 2018-K570191-99 in the San Francisco County Recorder’s Office.
Plaintiff alleges there was no legal or valid assignment of the mortgage debt
obligation to Defendant that gave them the legal right and/or authority to enforce

the power of sale contained in the deed of trust to the Subject Property.

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Plaintiff alleges Defendant was not the “beneficiary,” “holder in due course,”
or a “person entitled to enforce” the mortgage debt obligation pursuant to
California Civil Code §2924 et seq., Commercial Codes §§3201, 3203, and 3302 ef
seq.

The thrust of Plaintiff's case is that, as a result of fraudulent documents and
egregious breaches of agreements involving the mortgage debt obligation to the
Subject Property named Defendants named to this action was not the true
beneficiary or a real party in interest under the Deed of Trust having the power to
collect payments or to exercise the power of sale due to non-payment on the
mortgage debt obligation.

This situation arises from the fact that the mortgage loan obligation to the
Subject Property was canceled on February 19, 2013. Defendants have claimed
ownership to the mortgage debt obligation by recording instruments misleading
and fraudulent instruments in the San Francisco County Recorder’s office!
Plaintiff adamantly disputes these instruments.

The true beneficiary is unknown after the chain of title to the property was
irreversibly broken when the originator of Plaintiff's mortgage debt obligation
failed to effectively transfer, assign and convey the transfer or purchase of the
mortgage debt obligation to another prior to it being in default. Thus, no

negotiations of the note could have occurred.

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Plaintiff alleges that his real property is being falsely encumbered by
parties through third party, off-record transactions. Parties known and unknown to
Plaintiff have used a system of filing false instruments within the public in a
scheme to dispossess Plaintiff of his property. Plaintiff alleges that Defendants
willfully, negligently and with malice aforethought, filed, or caused to be filed, 4
series of documents known to be false at the time of the execution and filing of the
instruments in the public record against Plaintiff's interests.

Plaintiff alleges that, if left outstanding, the records to the San Francisco
County Recorder would be permanently corrupted at the expense of the Plaintiff
and the public as a whole. This is in direct contradiction to public policy. The
legislative intent of the Recording statute is corrupted by the allowance of a false
instrument to adversely affect Plaintiff and future generations of Californians.
Plaintiff, as citizens of the state of California, have rights to the legislation’s
intended purpose of the Recording statute and the protections afforded under such
rights.

Plaintiff alleges that the beneficiary to a note and deed of trust, as a contract,
is the party entitled to payment of the debt obligation, and such Article III standing
must be proved up by the Law of Assignments (Article IX, U.C.C.), as more fully

described below therein. Any allegation of the agency relationship must rely upon

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a foundation of facts and evidence to such a relationship by parties with personal,
first-hand knowledge of those facts.
Ii. STATEMENT OF JURISDICTION

This Court has original jurisdiction over the claims in this action based on 28
U.S.C. $1331, 15 U.S.C. $1692, et seq., and 28 U.S.C. $1367 for supplemental
state claims and 42 U.S.C. §1983 which confer original jurisdiction on federal
district courts in suits to address the deprivation of rights secured by federal law.

The unlawful conduct, illegal practices, and acts complained of and alleged
in this Complaint were all committed in the Northern District of California and
involved real property located in the Northern District of California. Therefore,
venue properly lies in this District, pursuant to 28 U.S.C. $1391 (b).

Il. DATE OF DETERMINATION

Plaintiff herein requests that the date of the Judicial determination sought be

that of the date of the filing of the initial Complaint which was May 11, 2021.
IV. IDENTITY OF PARTIES

At all relevant times, Plaintiff MOHANNA, is a resident of the Subject
Property and has an equitable interest of title to the Subject Property.

Plaintiff is informed and believe, and thereon alleges, that at all times
relevant hereto Defendant, WILMINGTON is a Delaware Corporation and

mortgage institution that is a subsidiary of WSFS BANK. Plaintiff is informed and

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believe Defendant WILMINGTON is one who regularly collects or attempts to
collect, directly or indirectly, debts owed to due or asserted to be owed or due to
themselves or asserted to be owed or due another and attempts to enforce security
interests in real properties. WILMINGTON is a “debt collector” pursuant to the
California Fair Debt Collection Practices Act, hereinafter referred to as the
“Rosenthal Act,” Civil Code $1788, et seq. and the federal Fair Debt Collections
Practices Act, hereinafter referred to as “FDCPA.” WILMINGTON is a “debt
collector” pursuant to the FDCPA, /5 U.S.C §1692a(6). WILMINGTON claimed
to be the “foreclosing beneficiary, of Plaintiff's mortgage debt obligation on
January 3, 2018.
Plaintiff is unaware of the true names and capacities of any individuals
and/or entities sued herein under the fictitious names DOES 1 to 10, inclusive or,
to the extent that the names of such individuals or entities may become known to
Plaintiff, and as such Plaintiff cannot state with any certainty that such a Cause off
Action lies herein as against such individuals or entities, or Plaintiff is unable to
allege the elements of such Cause of Action, at this time, and as such said
Defendants are herein named in accordance with the provisions of (Cal Code of
Civil Procedure Sec. 474). Plaintiff thereon reserves the right to amend instant
Complaint to allege the true names and capacities of such fictitiously named

Defendants when the same become known or when it has been ascertained with

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reasonable certainty that such Cause of Action hereunder can be satisfactorily
stated and maintained as against each such fictitiously named individual or entity.

Plaintiff is informed and believe and thereon alleges, that in committing
certain acts alleged, some or all of the Defendants named were acting as the
Agents, Joint Ventures, Partners, Representatives, Subsidiaries, Affiliates,
Associates, Successors, Assigns and/or Employees and/or Agents or some or all of
the other Defendants, and that some or all of the conduct of such Defendants, as
complained of herein, was within the course and scope and agency of such
relationship.

Plaintiff is informed and believe Defendant WILMINGTON is one who
enforces security interests by taking and/or threatens to take any nonjudicial action
to effect dispossession or disablement of property without the legal right or
authority to do so within the meaning of the FDCPA /5 U.S.C. $1692/(6). Plaintiff
is informed and believe Defendant WILMINGTON was not the “foreclosing
beneficiary” of the mortgage debt obligation and therefore wrongfully foreclosed
on the subject property, thereby violating the foreclosure statutes pursuant to on the
subject property, thereby violating the foreclosure statutes pursuant to California
Civil Code $2924, et seq.

Defendants, and each of them, knowingly and willfully conspired, engaged

in a common enterprise, and engaged in a common course of conduct to

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accomplish the wrongs complained herein. The purpose and effect of the
conspiracy, common enterprise, and common course of conduct complained of
was, inter alia, to financially benefit Defendants at the expense of Plaintiff by
engaging in fraudulent activities. Defendants accomplished their conspiracy,
common enterprise, and common course of conduct by misrepresenting and
concealing material information regarding the servicing of loans, and by taking
steps and making statements in furtherance of their wrongdoing as specified
herein. Each Defendant was a direct, necessary and substantial participant in the
conspiracy, common enterprise and common course of conduct complained of
herein, and was aware of its overall contribution to and furtherance thereof.
Defendants’ wrongful acts include, inter alia, all of the acts that each of them are
alleged to have committed in furtherance of the wrongful conduct of complained of
herein.

Any applicable statute of limitations have been tolled by the Defendants’
continuing, knowing, and active concealment of the facts alleged herein. Despite
exercising reasonable diligence, Plaintiff could not have discovered, did not
discover, and was prevented from discovering, the wrongdoing complained of
herein.

In the alternative, Defendants should be estopped from relying on any

statutes of limitations. Defendants have been under a continuing duty to disclose

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the true character, nature, and quality of their financial services, debt collections
practices and foreclosure of Plaintiff's property. Defendants owed Plaintiff an
affirmative duty of full and fair disclosure, but knowingly failed to honor and
discharge such duty.

Plaintiff alleges on information and belief that each of these Defendants
were in some manner legally responsible for the acts herein alleged and for
Plaintiff's damages.

Plaintiff alleges that an actual controversy has arisen and now exists between
Plaintiff and Defendant.

Vv. SUBJECT REAL PROPERTY AT ISSUE

The Real Property (herein after referred to as “Property”), the subject of any
and all claims of any of the Parties hereto, and which is the subject of instant
action, and that of which Plaintiff prays for a Decree and/or Order of Declaratory
Relief and Quiet Title thereto. The “Subject Property” address and legal
description is as follows: 1405 Greenwich Street, #2, San Francisco, CA 94109.
More particularly, the legal description of this property is:

CONDOMINIUM UNIT NO. 2, LOT 51, INCLUSIVE, AS SHOWN UPON
THE CONDOMINIUM MAP AND DIAGRAMMATIC FLOOR PLAN
ENTITLED “MAP OF 1405 GREENWICH STREET” WHICH WAS FILED

FOR RECORD ON DECEMBER 10, 1999 IN PARCEL MAP BOOK 44, PAGES

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60 TO 65, INCLUSIVE, AND THE “AMENDMENT TO CONDOMINIUM
PLAN” RECORDED MAY 5, 2000 AS DOCUMENT NO. 2000-G769926-00, IN
THE OFFICE OF THE RECORDER OF THE CITY AND COUNTY OF SAN
FRANCISCO, STATE OF CALIFORNIA (REFERRED TO HEREIN AS “THE
MAP”), AND AS FURTHER DEFINED IN THE DECLARATION OF
COVENANTS, CONDITIONS AND RESTRICTIONS OF 1405 GREENWICH
STREET HOMEOWNERS ASSOCIATION RECORDED ON MAY 5, 2000 AS
DOCUMENT NO. 2000-G769926-00, OFFICIAL RECORDS OF THE CITY
AND COUNTY OF SAN FRANCISCO, STATE OF CALIFORNIA (REFERRED}
TO HEREIN AS “THE DECLARATION”). |
Assessor’s Parcel No: 0523-051.

VI. FACTUAL ALLEGATIONS

1. Plaintiff MOHANNA is an individual currently residing in the County off
San Francisco who claims an equitable interest in the Subject Property.
2. On August 18, 2005, Plaintiff executed a Deed of Trust and Promissory
Note (mortgage debt obligation) in favor of Countrywide Bank, a Division of
Treasury Bank, as the lender, hereinafter referred to as “Countrywide.” The deed -+
of trust was recorded on August 24, 2005.
3. After falling behind in payments due to the financial crash in 2008,

Plaintiff's mortgage debt obligation went into default. As a result of Plaintiff's

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default, a Notice of Default, hereinafter referred to as “NOD,” was recorded in
February of 2012. Because payment was not made after the NOD was recorded, a
Notice of Trustee’s Sale, hereinafter referred to as “NOTS,” was recorded in
August of 2014. In working with his mortgage loan servicer and purported
beneficiary of the mortgage debt obligation at the time, Bank of America,
hereinafter referred to as “BofA,” Plaintiff was able to work out a deal which
resulted in the cancellation of the mortgage debt obligation.
4. On February 19, 2013, Bank of America, canceled Plaintiff's mortgage
debt obligation. Shortly after the debt obligation was canceled, Plaintiff received a
1099-C from Bank of America evidencing the cancellation of debt. Attached as
Exhibit “A” and incorporated herein by reference is a true and correct copy of the
1099-C from BofA.
5. On or about November 17, 2014, an Assignment of Deed of Trust was
executed by Bank of America, N.A. Successors by Merger to BAC Home Loan
Servicing, LP, FKA Countrywide Home Loans Servicing LP that purportedly, for
value received, granted, sold, assigned, transferred and conveyed all beneficial
interest under the Deed of Trust to Ventures Trust 2013-I-H-R by MCM Capital
Partners LLC, It’s Trustee, hereinafter referred to as “Ventures.” This instrument
was recorded in the San Francisco County Recorder’s Office on Tuesday, March 3,

2015 as instrument number K028196-00. Plaintiff alleges the underlying mortgage

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granted, sold, assigned and set over, and transferred the Deed of Trust, but not the

 

 

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debt obligation (Note) was not transferred or delivered. Plaintiff is informed,
believe, and thereon alleges, by operation of law, the deed of trust follows the note
without a separate assignment not the other way around as Defendants have
claimed. At the time this Assignment of Deed of Trust was executed, the mortgage
debt obligation was canceled as of February 19, 2013. Plaintiff alleges no
assignment of the note was executed nor was there a delivery of the note to
Ventures. Plaintiff adamantly disputes the truthfulness, accuracy, and contents of
this Assignment of Deed of Trust.

6. On or about April 20, 2016, a Substitution of Trustee, hereinafter referred
to as “SOT,” was executed and subsequently recorded in the San Francisco County
Recorder’s office. The SOT purportedly substituted the foreclosing trustee from
the Trustee named in the Deed of Trust to the Law Office of Les Zieve. The SOT
is purportedly signed by the “present Beneficiary” under the said Deed of Trust,
which states is Ventures. Plaintiff alleges that at the time this SOT was executed,
his mortgage debt obligation was canceled as of February 19, 2013, therefore, there
was not a “present Beneficiary” under the Deed of Trust. Plaintiff adamantly,
disputes the truthfulness, accuracy, and contents of the SOT.

7. On January 31, 2017, a second Assignment of Deed of Trust was executed

by Ventures that purportedly, “For good and valuable consideration,” conveyed,

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Note, to Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust, not
Individually But as Trustee for Ventures Trust 2013-I-H-R, A Delaware Trust,
hereinafter referred to as “WILMINGTON.” This Assignment of Deed of Trust
was recorded in the San Francisco County Recorder’s office on Tuesday, October
31, 2017 as instrument number 2017-K496609-00. Plaintiff is informed, believe,
and thereon alleges, by operation of law, the deed of trust follows the note without
a separate assignment not the other way around as Defendants have claimed. At
the time this Assignment of Deed of Trust was executed, the mortgage debt
obligation was canceled as of February 19, 2013, therefore there was nothing owed
on the mortgage debt obligation and as such there was no default. Plaintiff alleges
no assignment of the note was executed nor was there a delivery of the note to
WILMINGTON. Plaintiff adamantly disputes the truthfulness, accuracy, and
contents of this Assignment of Deed of Trust.
8. On September 26, 2017, a third Assignment of Deed of Trust was executed
that purportedly, “For good and valuable consideration,” granted, assigned,
transferred to Defendant WILMINGTON. This Assignment of Deed of Trust was
recorded on Tuesday, October 31, 2017 in the San Francisco County Recorder’s
office as instrument number 2017-K533242-00. Plaintiff is informed, believe, and
thereon alleges, by operation of law, the deed of trust follows the note without a

separate assignment not the other way around as Defendants have claimed. At the

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time this Assignment of Deed of Trust was executed, the mortgage debt obligation
was canceled as of February 19, 2013, therefore there was nothing owed on the
mortgage debt obligation and as such there was no default. Plaintiff alleges no
assignment of the note was executed nor was there a delivery of the note to
Defendant WILMINGTON. Plaintiff adamantly disputes the truthfulness,
accuracy, and contents of this Assignment of Deed of Trust.

9. On January 3, 2018, Defendants proceeded with a non-judicial foreclosure
against the Subject Property. A TDUS was recorded in the San Francisco County
Recorder’s office on January 24, 2018 that named Defendant WILMINGTON as
the “foreclosing beneficiary” on January 3, 2018. Plaintiff alleges that
WILMINGTON was not the foreclosing beneficiary of his mortgage debt
obligation. One, the mortgage debt obligation was canceled on February 19, 2013
and two, there is no Assignment of Note executed and/or recorded that shows
WILMINGTON was an entity entitled to enforce. Plaintiff adamantly disputes the
truthfulness, accuracy, and contents of the TDUS.

10. Plaintiff could not have reasonably known the Defendant had a legal and
colorable claim to his mortgage debt obligation. Plaintiff alleges he was deceived
and deprived of Defendants claim to be the foreclosing beneficiary of his mortgage
debt obligation. Plaintiff did not discover that Defendant was named as the

foreclosing beneficiary of his mortgage debt obligation until he reviewed the

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TDUS and compared it with the Assignment of Deed of Trust and the SOT on
Tuesday, May 4, 2021.

11. It is an undisputed fact that Defendant WILMINGTON was a debt
collector under the Rosenthal Act (Civil Code $1788.2(c)) and the FDCPA (/5
U.S.C. §1692a(6)). Plaintiff alleges that Defendant WILMINGTON never became
a “holder” or a “holder in due course” of Plaintiff's mortgage debt obligation
pursuant to U.C.C. §3302.

12. Asa result of Defendants’ conduct, Plaintiff has been forced to file this
lawsuit and enforce his rights against Defendants. Plaintiff has suffered from
emotional distress, depression, mental anguish, and anxiety as a result off
Defendants’ actions and the subsequent loss of the Subject Property.

FIRST CAUSE OF ACTION — WRONGFUL FORECLOSURE
[Against Defendant and Doe Defendants]

13. Plaintiff re-alleges hereby incorporates by reference all preceding
paragraphs as though fully set forth hereafter.
14. Plaintiff is informed and believes, and alleges the mortgage debt
obligation, Note and Deed of Trust were not originated by Defendanj
WILMINGTON and Does 1-10, inclusive, and each of them. Although Defendant
WILMINGTON claims to have been the foreclosing beneficiary of the mortgage

debt obligation, there are no documents in the recorded chain of title to the Subject

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Property that leads to Defendant WILMINGTON’s ownership of the mortgage
debt obligation.

15. Despite the fact that the mortgage debt obligation was canceled on
February 19, 2013, upon information and belief, Defendant was not the foreclosing
beneficiary of Plaintiff's mortgage debt obligation on January 3, 2018 as claimed
on the TDUS. Plaintiff is informed and believes and alleges that WILMINGTON
never had an interest in neither the Note nor the Deed of Trust that would have
given them the authority to proceed with a non-judicial foreclosure due to non-
payment on January 3, 2018.

16. Plaintiff is informed and believes and alleges, Defendants WILMINGTON
and Does 1-10, inclusive, and each of them, did not have ownership and/or
possession of the Note and Deed of Trust on January 3, 2018. Plaintiff is informed
and believes and alleges Defendants WILMINGTON and Does 1-10, inclusive,
and each of them, failed to negotiate and obtain possession of the mortgage debt
obligation (both the Note and Deed of Trust) because the debt was canceled on
February 19, 2013 by BofA and because, if the debt was not canceled, they failed
to cure the default and/or overdue payments. Plaintiff is informed and believes and
alleges that negotiation of a note cannot take place if there is an uncured default in

respect to payments.

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17. Plaintiff is informed and believes, and alleges that Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, failed to strictly
follow the mandatory requirements of Civil Code 2924(a)(1)(C). According to the
statute, a stranger to a mortgage debt obligation cannot elect to invoke the power off
sale in a deed of trust. The power of sale is reserved exclusively for the
“beneficiary” of the mortgage debt obligation. Plaintiff is informed and believes,
and alleges Defendants WILMINGTON, Does 1-10, inclusive, and each of them,
and any other entity, were complete strangers to the mortgage debt obligation!
Plaintiff is informed and believes and alleges that said Defendants fabricated the
TDUS to demonstrate their false authority.

18. Plaintiff is informed and believes Defendants WILMINGTON and/or
Does 1-10, inclusive, and each of them, did not have the legal right or authority to
initiate and complete a foreclosure sale on January 3, 2018 because they were noi

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the “beneficiary,” “holder in due course,” “person entitled to enforce,” or an agent
of the true “beneficiary,” “holder in due course,” or a “person entitled to enforce.”

19. Plaintiff is informed and believes that Defendants WILMINGTON and
Does 1-10, inclusive, and each of them, was not a “holder in due course” pursuant
to Commercial Code §3302 et seq. Plaintiff further is informed and believes thaj
Defendant WILMINGTON was not a “holder in due course” despite the fact the |

mortgage debt obligation was canceled on February 19, 2013.

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20. Plaintiff is informed and believes and alleges that by Defendant
WILMINGTON was aware that Plaintiffs mortgage debt obligation had an
uncured default in respect to the installment payments.

21. Plaintiff is informed and believes, and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them caused the above
stated foreclosure related documents recorded from February 2012 to January 3,
2018, misrepresented material information relating to the recorded documents.
Plaintiff is informed and believes and alleges Defendants WILMINGTON and
Does 1-10, inclusive, and each of them, did not review or determine whether the
recorded documents executed in connection with Plaintiffs mortgage debt
obligation recorded on August 18, 2005 were accurate and complete based on
governing foreclosure laws, and/or competent and reliable evidence.

22. Plaintiff is informed and believes and alleges that there is no evidence off
a recorded Assignment of Note and delivery to Defendants WILMINGTON and
Does 1-10, inclusive, and each of them, to evidence the change in the beneficiary]
Upon information and belief, Plaintiff alleges there is no recorded unbroken chain
of title to Defendants WILMINGTON and/or Does 1-10, inclusive, and each off
them.

23. Plaintiff is informed and believes and alleges that the foreclosing trustee

substituted by Ventures did not legally substitute the foreclosing trustee who

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carried out the non-judicial foreclosure on January 3, 2018. Plaintiff is informed
and believes and alleges that the Law Offices of Les Zieve was not legally
substituted because said Ventures was not the “beneficiary,” “holder in due
course,” or a “person entitled to enforce,” of the mortgage debt obligation, Note
and Deed of Trust, who had the legal authority to execute the SOT to give
authority to the foreclosing trustee in violation of Civil Code $2934(a).

24. Plaintiff is informed and believes and alleges the foreclosing trustee
was not the proper and legal trustee pursuant to Civil Code 2934, et seq. at the time
of the sale and therefore the foreclosure that occurred on January 3, 2018 is void as
a matter of law and not in compliance with Civil Code section 2924, et seq.

25. Plaintiff is informed and believes and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, violated Civil Code
§2924, et seq. by commencing and concluding a non-judicial foreclosure sale on
January 3, 2018 because they were not the legally authorized “beneficiary,”
“holder in due course,” and/or “person entitled to enforce” the Note and the power
of sale contained in the Deed of Trust.

26. Plaintiff is informed and believes and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, violated Civil Code
§2924, et seq. by foreclosing on the Subject Property without having the authority

to enforce the power of sale contained in the Deed of Trust. Plaintiff is informed

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FIRST AMENDED COMPLAINT

 
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and believes and alleges that because said were not the “beneficiaries,” “holders in
due course,” or a “persons entitled to enforce” the Note and Deed of Trust, they,
committed illegal and fraudulent activity and acted with willful oppressiveness and
malice toward Plaintiff.

27. Plaintiff is informed and believes and alleges the conduct described
above by Defendants WILMINGTON and Does 1-10, inclusive, and each of them,
were malicious because they knew, or should have known, they were not acting on
behalf of the current pecuniary beneficiary of the Note and Deed of Trust the Law
Offices of Les Zieve was not the foreclosing trustee properly substituted.

28. Upon information and belief, Plaintiff alleges that despite such
knowledge, Defendants WILMINGTON and Does 1-10, inclusive, and each of
them, continued to demand mortgage payments and proceeded with enforcing the
power of sale contained in the Deed of Trust by foreclosing on the Subject
Property on January 3, 2018.

29. Plaintiff is informed and believes, and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, had actual knowledge
of the falsity of the recorded documents related to Plaintiff's mortgage debt
obligation between February of 2012 to January of 2018. Plaintiff alleges
Defendants knew the true facts were: (1) Plaintiff's original lender Countrywide

did not transfer the Note to Ventures in 2014; (2) Ventures could not and did not

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FIRST AMENDED COMPLAINT

 
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transfer any interest in the Note to said Defendants because Ventures had no
interest in the Note and/or Deed of Trust to assign and/or transfer to anyone; (3)
the mortgage debt obligation was canceled on February 19, 2013; (4) that by
operation of law, the mortgage debt obligation was statutory barred from
enforcement due to cancellation of the debt; that pursuant to U.C.C. $$3203 ef
seq., 3302 et seq. said Defendants could not be a “beneficiary,” “holder in due
course,” or a “person entitled to enforce” the Note and/or the power of sale in the
Deed of Trust; and (5) Defendants WILMINGTON or Does 1-10, inclusive, and
each of them, did not have any legal or beneficial interest in the Note or Deed off
Trust before January 3, 2018.

30. Plaintiff is informed and believes and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, cause the above
stated documents from February 2012 to January 2018 to be fabricated so as to
make it appear they held a legal or beneficial interest in the Note and Deed of Trusj
and a legal secured interest in the Subject Property even though said Defendants
had actual knowledge of the falsity of the documents related to Plaintiff's Note and
Deed of Trust until the present since they knew at the time those documents were
executed and recorded the true facts were: (1) Plaintiffs original lender
Countrywide did not transfer the Note to Ventures; (2) Ventures could not transfer

any interest in the Note to said Defendants because Ventures had no interest in the

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FIRST AMENDED COMPLAINT

 
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Note and/or Deed of Trust to assign and/or transfer to anyone; (3) the mortgage
debt obligation was canceled on February 19, 2013; (4) that by operation of law,
the mortgage debt obligation was statutory barred from enforcement due to the
cancellation of the debt; that pursuant to U.C.C. §$3203 et seq., 3302 et seq. said
Defendants could not be a “beneficiary,” “holder in due course,” or a “person
entitled to enforce” the Note and/or the power of sale in the Deed of Trust; and (5)
Defendants WILMINGTON or Does 1-10, inclusive, and each of them, did not
have any legal or beneficial interest in the Note, Deed of Trust, or the mortgage
debt obligation on or before January 3, 2018.
31. Plaintiff is informed and believes, and alleges Defendants
WILMINGTON and Does 1-10, inclusive, and each of them, violated Civil Code
$2924, et seq. by foreclosing on the Subject Property without having the authority
to enforce the power of sale contained in the Deed of Trust. Plaintiff is informed
and believes, and alleges that because Defendants WILMINGTON and Does 1-10,
inclusive, and each of them, were not the “beneficiaries,” “holders in due course,”
or a “person entitled to enforce” the Note, Deed of Trust, or the mortgage debt
obligation, they committed illegal and fraudulent activity and acted with willful
oppressiveness and malice toward Plaintiff.
32. Plaintiff is informed and believes and alleges tender of the debt is not

required because Plaintiff alleges Defendants WILMINGTON and Does 1-10,

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FIRST AMENDED COMPLAINT

 
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inclusive, and each of them was not the foreclosing beneficiary and/or the agent of
the true beneficiary, owner, holder in due course, or the “persons entitled to
enforce” his mortgage debt obligation.

SECOND CAUSE OF ACTION — VIOLATION OF UNIFORM
COMMERCIAL CODE §3302, ET SEQ.
[Against Defendant and Doe Defendants]

33. Plaintiff re-alleges hereby incorporates by reference all preceding
paragraphs as though fully set forth hereafter.
34. Plaintiff alleges Defendants WILMINGTON and Does 1-10, inclusive,
and each of them, violated U.C.C. $3302. Pursuant to U.C.C. §3302(a)(1), by,
operation of law, Defendants were not a holder in due course nor did they negotiate
Plaintiff's mortgage debt obligation due to an uncured default and the fact that the
mortgage debt obligation was canceled on February 19, 2013.
35. Upon information and belief, Plaintiff alleges Defendants WILMINGTON
and Does 1-10, inclusive, and each of them, failed to take Plaintiff's mortgage debt
obligation for value pursuant to U.C.C. $3302(a)(2)(A).
36. Upon information and belief, Plaintiff alleges Defendants WILMINGTON
and Does 1-10, inclusive, and each of them, failed to take Plaintiff's mortgage debt
obligation in good faith pursuant to U.C.C. $3302(a)(2)(B).

37. Upon information and belief, Plaintiff alleges Defendants WILMINGTON

and Does 1-10, inclusive, and each of them, if the mortgage debt obligation had not

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FIRST AMENDED COMPLAINT

 
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been canceled on February 19, 2013, failed to take Plaintiff's mortgage debi
obligation without notice that there was an uncured default with respect to payment
pursuant to U.C.C. §3302(a)(2)(C).

38. Upon information and belief, Plaintiff alleges Defendants WILMINGTON
and Does 1-10, inclusive, and each of them, failed to take Plaintiff's mortgage debt
obligation without notice that the instrument contained an unauthorized signature
or has been altered pursuant to U.C.C. §3302(a)(2)(D).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays to the Court for judgment against
Defendants for relief as follows:

1. On the claim for Wrongful Foreclosure and violation of the U.C.C. an
award of general and special damages in an amount to be determined according to
proof at trial, but not less than $3,500,000.00;

2. For punitive and exemplary damages in an amount to be determined to
proof at trial;

3. For an order compelling Defendants to remove and/or cancel any,
instrument which does or could be construed as constituting a cloud upon the

Subject Property;

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FIRST AMENDED COMPLAINT

 
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4. For a declaration of the rights and duties of Defendants for their violation
of the laws that governs a nonjudicial foreclosure in the State of California;

5. For Cancelation of the Trustee’s Deed Upon Sale recorded in the San
Francisco County Recorder’s Office on January 24, 2018 as Instrument No. 2018-
K570191-00,

5. For reasonable attorney’s fees incurred, if any,

6. For costs of suit; and

7. For such additional and further relief as the Court may deem proper and

reasonable.

DATED: July 30, 2021

Respectfully submitted by:

Keyhan Mohanna, individually and as Trustee
of the Keyhan Mohanna Revocable Trust Dated
July 8, 2003

Plaintiff

 

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FIRST AMENDED COMPLAINT

 
 

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BankofAmerica lop NATIONAL WAY \wgssitaterment Date Vof2
a SIMI VALLEY, CA 93055-6298 ouevam4
Home Loans

{MPORTANT TAX RETURN DOCUMENT ENCLOSED

KEYHAN MOHANNA
1405 GREENWICH ST APT 6
SAN FRANCISCO, CA 94109-0221

Account Number 111399333

Property Address
1405 GREENWICH STREET, UNIT 2

 

| instructions for Debtor

You received this form because a Federal Government agency or an applicable
financial entity (a lender) has discharged (canceled or forgiven) a debt you owed,
or because an identifiable event has occurred that elther Is or Is deamed to be a
discharge of a debt of $600 or more. If a creditor has discharged a debt you owed,
you are required to include the discharged amount in your income, even If it Is less
than $600, on the "Other income" fine of your Form 1040. However, you may not
have to include al) of the canceled debt in your income. There are exceptions and
exclusions, such as bankruptcy and insolvency. See Pub. 4681, available at
ARS.gov, for more details. If an identifiable event has occurred but the debt has not
actually been discharged, then Include any discharged debt in your Income in the
year that itis actually discharged, unless an exception or exclusion applies to you
in that year.

Account number. May show an account or other unique number the creditor
assigned to distinguish your account.

Box 1. Shows the date the earliest identifiable event occured or, at the creditor's
discration, the date of an actual discharge that occurred before an identifiable
event. See the code in box 6.

Box 2. Shows the amount of debt either actually or deemed discharged. Note, IT
you do not agree with the amount, contact your creditor.

Box 3. Shows interest if included in the deb! reported in box 2. See Pub. 4681 to
see If you must include the interest in gross income.

Box 4. Shows a description of the debt. If box 7 is completed, box 4 also shows
a description of the property.

Box 5. Shows whether you were personally liable for repayment of the debt
when the debt was created cr, If modified, at the time of the last modification.
See Pub. 4681 for reporting instructions.

Box 6. May show the reason your creditor has filed this form. The codes in this
box are described in more detail in Pub. 4681. A-Bankruptcy, B-Other judicial
debt relief; C-Statute of limitations or expiration of deficiency perlod;
D-Foreclosure election; E-Debt relief from probate or similar proceeding; F-By
agreement; G-Decision or policy to discontinue collection; H-Expiration of
nonpayment testing period; or |-Other actual discharge before Identifiable event.
Box 7. Hf, in the same calendar year, a foreclosure or abandonment of property
occurred in connection with the cancellation of debt, the fair market value (FMV)
of the property will be shown, or you will receive a separate Form 1089-A.
Generally, the gross foreclosure bid price is considered to be the FMV. For an
abandonment or voluntary conveyance in fieu of foreclosure, the FMV Is
generally the appraised value of the property. You may have Income or loss
because of the acquisition or abandonment. See Pub. 4681 for information about
foreclosures and abandonments. If the property was your main home, see Pub.
523 to figure any taxable gain or ordinary income.

Future developments. For the latest information about developments related to
Form 1089-C and its instructions, such as legislation enacted after they were
published, go to irs.gov/form1099c.

[_] CORRECTED (if checked) [[] VOID (if checked)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S name, street address, city or town, province or state, country, ZIP, | 1 Date of identifiable event OMB No. 1545-1424
or foreign postal code, and telephone no. February 19, 2013 Cancella tion
BANK OF AMERICA, NA. 2 Amount of debt discharged
"3 of Debt
400 NATIONAL WAY 714,936.84 201 3
SIMI VALLEY, CA 93085-6298 neon
1-800-689-6507 3 Interest included In box 2
0.00 Farm 1099-C
CREDITOR'S federal Identification number | DEBTOR'S identification number | 4 Debt description
94-16B7665 YOX-XX-8912 Copy B
DEBTOR'S name, Street address (Including apt. no.), City or town, province or 1405 GREENWICH STREET, UNIT 2 For Debtor
state, country, and ZIP or foreign postal code SAN FRANCISCO, CA 94109 This is important tax
KEYHAN MOHANNA information and is being
1405 GREENWICH ST APT 6 fumished to the intemal
Re Serice. If
SAN FRANCISCO, CA 94109-0221 ST checked. the debtor was personally lable for | ere required to flea
. , ° return, a negligence
penalty or other sanction
may be imposed on you
Account number (see Instructions) Sldenthable event code 7 Fair market value of property | erate Income resuits
111399333 A the IRS determines that
it has not been reported.
Form 1099-C (keep for your records) irs.gow/form10S9c Department of the Treasury - Intema! Revenue Service
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CERTIFICATE OF SERVICE
Keyhan Mohanna, Et Al v. Wilmington Savings Fund Society, FSB, D/B/A Christiana
Trust, Not Individually But As Trustee for Hilldale Trust
United States District Court — Northern District of California
Case No. 4:21-cv-03557-KAW

I am a resident of the State of California, over the age of eighteen years, and not a party to
the within action. My business address is 9431 Haven Avenue, Suite 100-280, Rancho
Cucamonga, California 91730. On August 2, 2021, I served the following document(s) by the
method indicated below:

FIRST AMENDED COMPLAINT

[ ] by transmitting via facsimile on this date the document(s) listed above to the
facsimile numbers set forth below. The transmission was completed before the
close of business and was reported complete and without error.

[ X] by placing the document(s) listed above in a sealed envelope with postage thereon
fully prepaid, in the United States mail at Rancho Cucamonga, California
addressed as set forth below. I am readily familiar with the firm’s practice of
collection and processing of correspondence for mailing. I am aware that on
motion of the party served, service is presumed invalid if the postal cancellation
date on postage meter date is more than one day after the date of deposit in this
Declaration.

[ ] BY CM/ECF ELECTRONIC DELIVERY: In accordance with the registered case
participants and in accordance with the procedures set forth at the United States
District Courts, Central District of California website https://ecf.cacd.uscourts.gov.

[ ] by placing the document(s) listed above in a sealed envelope(s) and consigning
it to an express mail service for guaranteed delivery on the next business day
following the date of consignment to the address(es) set forth below. A copy
of the consignment slip is attached to this proof of service.

(See Attached Service List)
I declare under penalty of perjury under the laws of the United States that the above is true
and correct.

Executed on August 2, 2021, at Rancho Cucam el aes

POEL IFTE
Rez Pofieren

  

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CERTIFICATE OF SERVICE

 
 

 

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SERVICE LIST
Keyhan Mohanna, Et Al v. Wilmington Savings Fund Society, FSB. D/B/A Christiana
Trust, Not Individually But As Trustee for Hilldale Trust
United States District Court — Northern District of California
Case No. 4:21-cv-03557-KAW

Authorized Agent for Defendant WILMINGTON SAVINGS FUND SOCIETY, FSB,
d/b/a CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR
HILLDALE TRUST

WRIGHT, FINLAY & ZAK, LLP
c/o Gwen H. Ribar SBN 188024
4665 MacArthur Court, Suite 280
Newport Beach, CA 92660
Telephone: (949) 477-5050
Facsimile: (949) 477-9200
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CERTIFICATE OF SERVICE

 
